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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                        )
                                                )
                    v.                          ) Criminal No. 19-CR-10078-RWZ
                                                )
WILLIAM “RICK” SINGER,                          )
                 Defendant.                     )

 UNITED STATES’ MOTION FOR ORDER OF FORFEITURE (MONEY JUDGMENT)

        The United States of America, by its attorney, Rachael S. Rollins, United States Attorney

for the District of Massachusetts, respectfully moves this Court for the issuance of an Order of

Forfeiture (Money Judgment) in the above-captioned case pursuant to 18 U.S.C. §§ 1963,

982(a)(1), and Rule 32.2(b) of the Federal Rules of Criminal Procedure. The defendant, William

“Rick” Singer (the “Defendant”), consented to entry of this order in his written plea agreement.

A proposed Order of Forfeiture is submitted herewith. In support thereof, the United States sets

forth the following:

        1.       On March 5, 2019, the United States Attorney for the District of Massachusetts

filed a four-count Information, charging the Defendant, with Racketeering Conspiracy, in violation

of 18 U.S.C. § 1962(d) (Count One); Money Laundering Conspiracy, in violation of 18 U.S.C. §

1956(h) (Count Two); Conspiracy to Defraud the United States, in violation of 18 U.S.C. § 371

(Count Three); and Obstruction of Justice, in violation of 18 U.S.C. § 1512(c)(2) (Count Four).

        2.       The Information included a racketeering forfeiture allegation, pursuant to 18 U.S.C.

§ 1963, which provided notice that the United States intended to seek the forfeiture, upon

conviction of the Defendant of the offense alleged in Count One of the Information, of: (a) any

interest acquired or maintained in violation of Title 18, United States Code, Section 1962; (b) any

interest in, security of, claim against, or property or contractual right of any kind affording a source
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of influence over, any enterprise established, operated, controlled, conducted, or participated in

the conduct of, in violation of Title 18, United States Code, Section 1962; and (c) any property

constituting, or derived from, any proceeds obtained, directly or indirectly, from racketeering

activity or unlawful debt collection in violation of Title 18, United States Code, Section 1962.

Such property specifically included, among others, without limitation: $3,429,970.87, to be

entered in the form of a forfeiture money judgment.

       3.       The Information also included a money laundering forfeiture allegation, pursuant

to 18 U.S.C. § 982(a)(1), which provided notice that the United States intended to seek the

forfeiture, upon conviction of the Defendant of the offense alleged in Count Two of the

Information of any property, real or personal, involved in such offense, and any property traceable

to such property. Such property specifically included, among others, without limitation:

$3,429,970.87, to be entered in the form of a forfeiture money judgment. 1

       4.       The Information further provided that, if any of the above-described forfeitable

property, as a result of any act or omission by the Defendant, (a) cannot be located upon the

exercise of due diligence; (b) has been transferred or sold to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the Court; (d) has been substantially diminished in

value; or (e) has been commingled with other property which cannot be divided without difficulty,

the United States is entitled to seek forfeiture of any other property of the Defendant, up to the

value of such assets, pursuant to 18 U.S.C. § 1963(m), and 21 U.S.C. § 853(p), as incorporated by

18 U.S.C. § 982(b).




1
 The Information and plea agreement identified a number of specific assets for forfeiture. The
Court entered a Final Order of Forfeiture for these assets on February 5, 2020. See Docket No.
49.

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       5.       On March 12, 2019, at a hearing pursuant to Rule 11 of the Federal Rules of

Criminal Procedure, the Defendant pled guilty to Counts One through Four of the Information,

pursuant to a written plea agreement that he signed on February 28, 2019. See Docket Nos. 2, 19.

In Section 9 of the plea agreement, the Defendant agreed to forfeit to the United States

$3,429,970.87 on the grounds that such amount represents proceeds the Defendant obtained

(directly or indirectly), and/or facilitating property and/or property involved in the crimes to which

the Defendant has plead guilty. Id. at 7. At the March 12, 2019, Rule 11 hearing, the Court

accepted Defendant’s guilty plea. See Docket No. 24.

       6.       Based on the Defendant’s admissions in the written plea agreement and his guilty

plea on March 12, 2019, the United States is entitled to an Order of Forfeiture consisting of a

personal money judgment against the Defendant, in the amount of $3,429,970.87, pursuant to 18

U.S.C. §§ 1963 and 982(a)(1). 2

       7.       The entry of an Order of Forfeiture in the form of a personal money judgment is

specifically authorized by Rule 32.2(b)(1) and (c)(1) of the Federal Rules of Criminal Procedure,

and such orders of forfeiture are commonplace. See, e.g., United States v. Ponzo, 853 F.3d 558,

589-90 (1st Cir. 2017) (criminal forfeiture order may take several forms, including an in personam

judgment against defendant for amount of money defendant obtained as proceeds of offense);

United States v. Zorrilla-Echevarria, 671 F.3d 1, 11 n.15 (1st Cir. 2011) (“A criminal forfeiture

may take the form of either (1) ‘an in personam judgment against the defendant for the amount of

money the defendant obtained as proceeds of the offense,’ (2) forfeiture of specific assets related

to criminal activity, or (3) forfeiture of ‘substitute assets’ if the specific assets are unavailable.”)


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  As of the date of this motion, the Defendant has turned over $1,213,000 to the United States in
voluntary payments towards the anticipated forfeiture money judgment, which will be credited
towards the forfeiture money judgment, once the attached order is entered.

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(citation omitted); United States v. Hall, 434 F.3d 42, 59 (1st Cir. 2006) (same).

       8.       Once the Order of Forfeiture is entered, the United States may move at any time,

pursuant to Rule 32.2(e)(1)(B), to amend the Order to forfeit specific property of the Defendant,

having a value up to the amount of the money judgment.              See United States v. Zorrilla-

Echevarria, 671 F.3d 1, 11 n.15 (1st Cir. 2011) (“[a] money judgment permits the government to

collect on the forfeiture order … even if a defendant does not have sufficient funds to cover the

forfeiture at the time of the conviction, the government may seize future assets to satisfy the

order”); United States v. Saccoccia, 564 F.3d 502, 506-507 (1st Cir. 2009) (once government

obtains money judgment, it may move at any time to forfeit direct or substitute assets in partial

satisfaction of that judgment).

       9.       Upon entry of the Order of Forfeiture, the United States may also, pursuant to Rule

32.2(b)(3) of the Federal Rules of Criminal Procedure, “conduct any discovery the court considers

proper in identifying, locating or disposing of the property” that has been forfeited to the United

States. Such discovery may include the taking of depositions of witnesses. See 18 U.S.C.

§ 1963(k); 21 U.S.C. § 853(m), as incorporated by 18 U.S.C. § 982(b); see also United States v.

Saccoccia, 354 F.3d 9, 15 (1st Cir. 2003) (“the government may utilize its enforcement powers

under [18 U.S.C. §] 1963(k) to ‘trace’ tainted funds”); United States v. Saccoccia, 898 F. Supp.

53, 60 (D.R.I. 1995) (the United States can take depositions of defense counsel to determine source

of their fees for the purpose of locating a pool of assets controlled by defendant that is subject to

forfeiture). In addition, the reference in Rule 32.2(b)(3) to “any discovery the court considers

proper” necessarily permits the court to authorize discovery under the Federal Rules of Civil

Procedure. Such discovery includes, but is not limited to, the authority to issue a request for

documents to a party under Rule 34 and to a non-party under Rules 34(c) and 45.


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       WHEREFORE, the United States requests that this Court:

       (a)    enter the Order of Forfeiture (Money Judgment) in the form submitted herewith;

       (b)    retain jurisdiction in this case for purposes of enforcing the forfeiture;

       (c)    include the forfeiture, as set forth in the Order of Forfeiture (Money Judgment), in

the oral pronouncement of the Defendant's sentence; and

       (d)    incorporate the Order of Forfeiture (Money Judgment) in the criminal judgment

entered against the Defendant, pursuant to Federal Rule of Criminal Procedure 32.2(b)(4).

                                                     Respectfully submitted,

                                                     RACHAEL S. ROLLINS
                                                     United States Attorney

                                             By:     /s/ Carol E. Head
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